Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 1 of 7




               Exhibit 32
       Text Messages between Jones
               and Phagan
Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 2 of 7




                                                                   Armory-0196
Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 3 of 7




                                                                   Armory-0197
Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 4 of 7




                                                                   Armory-0198
Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 5 of 7




                                                                   Armory-0199
Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 6 of 7




                                                                   Armory-0200
Case 4:20-cv-00341-CVE-SH Document 124-32 Filed in USDC ND/OK on 07/18/22 Page 7 of 7




                                                                   Armory-0201
